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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 HYPERTHERM, INC., a New Hampshire
 corporation,

         Plaintiff,                                     CASE NO. 1:24-cv-11340-SJC-BWJ

                 v.

 THE INDIVIDUALS, PARTNERSHIPS                            Judge Sharon Johnson Coleman
 AND UNINCORPORATED                                       Magistrate Judge Beth W. Jantz
 ASSOCIATIONS IDENTIFIED IN
 SCHEDULE “A”,

         Defendants.


                            NOTICE OF VOLUNTARY DISMISSAL
                                 PURSUANT TO FRCP 41

       Plaintiff Hypertherm, Inc. (“Hypertherm” or “Plaintiff”) hereby moves, pursuant to Rule

41(a)(1)(a)(i) of the Federal Rules of Civil Procedure, to dismiss with prejudice all causes of action

in the complaint against the following Defendants identified in Schedule A to the Complaint.

 Schedule A           Seller Name                     Business Name                    eBay Seller
 Defendant                                                                                 Id
  Number
     52
                 tool-machine-886 LuoYangHaoYunShangMaoYouXianGongSi 2346812816



       Each party shall bear its own attorneys’ fees and costs. None of the above identified

Defendants have answered the Complaint nor filed a motion for summary judgement. Therefore,

Plaintiff submits that dismissal under Rule 41(a)(1) is appropriate.




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  DATED January 23, 2025.         Respectfully submitted,

                                  By /s/ Collin D. Hansen
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                                     Attorneys for Hypertherm, Inc.




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 23, 2025, I caused to be filed with the Clerk of the Court

the foregoing NOTICE OF VOLUNTARY DISMISSAL using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record, and that I will cause to be posted the foregoing

Notice of Voluntary Dismissal to a link, which has been sent to the email addresses of Defendants’

counsel and/or the addresses provided for Defendants by third parties, to a website where the foregoing

can be downloaded.


                                                  By /s/ Collin D. Hansen
                                                     Collin D. Hansen




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